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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION

   RONALD L. ROBERTSON,                     )
                                            )
                Plaintiff,                  )
                                            )
   v.                                       )
                                                 Civ. Action No. 6:11-CV-00013
                                            )
   FLOWERS BAKING CO.,                      )
                                            )
                Defendant                   )
                                            )

            MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO
        DISMISS BASED ON LACK OF SUBJECT MATTER JURISDICTION
                AND THE DOCTRINE OF JUDICIAL ESTOPPEL
          COMES NOW Defendant Flowers Baking Co. of Lynchburg, LLC

   (improperly identified in the Complaint as “Flowers Baking Co.”) (“Flowers

   Lynchburg” or “Defendant”), by and through its undersigned counsel, and

   respectfully requests that the Court enter an Order granting Defendant’s Motion to

   Dismiss Plaintiff’s Complaint based on the Court’s lack of subject matter

   jurisdiction over Plaintiff’s claims, under Fed. R. Civ. P. 12(b)(1), and because

   Plaintiff is judicially estopped from bringing his claims against Defendant, under

   Fed. R. Civ. P. 12(b)(6).
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      I.      INTRODUCTION
           Plaintiff Ronald L. Robertson (“Robertson” or “Plaintiff”) alleges that he

   was denied a reasonable accommodation and suffered disability discrimination

   while employed by Defendant, in violation of the Americans with Disabilities Act

   (“ADA”).      (Dkt. No. 3).     Defendant denies that it failed to reasonably

   accommodate Robertson. (Dkt. No. 11). In fact, Defendant offered Robertson a

   modified light-duty job, Production Helper – Roll Catcher, which was approved as

   conforming to Robertson’s work restrictions by Robertson’s own primary doctor as

   well as two other doctors who examined Robertson. Defendant also denies that

   any of its decisions involving Robertson were based on an alleged disability, or

   any other protected category, and instead asserts that such were based on

   legitimate, nondiscriminatory reasons. (See id.).

           However, notwithstanding the complete lack of merit supporting

   Robertson’s substantive claims, Robertson’s intervening bankruptcy action caused

   him to lose standing to pursue the claims he alleges in this lawsuit, as those claims

   now belong exclusively to the bankruptcy trustee. Robertson is also judicially

   estopped from proceeding with this lawsuit because he has taken inconsistent

   positions in this action and in his bankruptcy proceeding by failing to disclose his

   claims as assets in his bankruptcy proceeding. Consistent with Fourth Circuit


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   precedent, Robertson’s lawsuit must be dismissed with prejudice as a matter of

   law.

       II.        RELEVANT FACTS

             After failing to report to work for two consecutively scheduled work days

   without calling in to report either absence, Robertson was terminated, effective

   July 10, 2009, for job abandonment under the established and consistently-

   enforced company attendance policy. (See Dkt. Nos. 3, 11).

             A.    Robertson Files For Chapter 13 Bankruptcy But Fails To Disclose
                   EEOC Charge And Existing Claims As Potential Assets
             Robertson filed for Chapter 13 bankruptcy with the U.S. Bankruptcy Court

   for the Western District of Virginia on May 18, 2009. (See Ex. A, Bankr. Dkt.1

   No. 1). On the bankruptcy petition’s “Statement of Financial Affairs,” Robertson

   was required to disclose “all suits and administrative proceedings to which the

   debtor is or was a party within one year immediately proceeding the filing of this

   bankruptcy case.” (See Ex. B, Bankr. Dkt. No. 13, p. 22, filed on June 2, 2009).

   Robertson disclosed that he was a defendant in a civil lawsuit filed against him by

   Lynchburg General Hospital. (See id.) On the bankruptcy petition’s “Schedule B-

   Personal Property,” Robertson stated “None” in response to the requirement to list
   1
    Bankruptcy Docket references are to Petition # 09-61588 in the U.S. Bankruptcy Court for the
   Western District of Virginia (Lynchburg). The referenced documents are attached hereto as
   exhibits for your convenience.
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   “contingent and unliquidated claims of every nature” and to “[g]ive the estimated

   value of each.” (See id. at p. 5).

         Robertson was terminated from Flowers Lynchburg for job abandonment on

   July 10, 2009, approximately one month before the Bankruptcy Court confirmed

   his Chapter 13 Plan. (Dkt. No. 3; Ex. C, Bankr. Dkt. No. 25, filed on Aug. 5,

   2009). Thereafter, on December 4, 2009, and while his Ch. 13 bankruptcy was

   pending, Robertson filed a charge with the EEOC, in which he alleged that Flowers

   Lynchburg discriminated against him in violation of the ADA. (Dkt. No. 3).

   However, Robertson did not amend his Statement of Financial Affairs to include

   his EEOC Charge. Nor did he amend Schedule B to include his claims against

   Flowers Lynchburg as potential assets. Despite these falsities, Robertson declared

   under penalty of perjury that the information contained in his bankruptcy petition

   was true and correct. (See Ex. B, Bankr. Dkt. No. 13, p. 28).

         B.     Robertson Files A Motion To Convert His Bankruptcy Case To
                Chapter 7, Yet He Still Does Not Disclose His Existing Claims
         On January 15, 2010, and while his Chapter 13 bankruptcy case was still

   pending, Robertson filed a motion with the Bankruptcy Court to convert his

   bankruptcy petition to Chapter 7; his motion was granted and case converted on

   January 19, 2010. (See Ex. D, Bankr. Dkt. Nos. 59, 61). In the Court’s “Order

   Granting Motion to Convert Case to Chapter 7,” Robertson was required to file
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   with the Court, among other things, “a schedule of property not listed in the final

   report and account, which property was acquired after the filing of the original

   petition but before the entry of this Conversion Order.” (See Ex. D, Bankr. Dkt.

   No. 61, filed on Jan. 19, 2010). Still, Robertson failed to disclose his existing

   claims to the Court. Because Robertson did not disclose the claims underlying his

   EEOC charge, these claims were not included in the bankruptcy trustee’s “Final

   Report and Account” that was filed with the Court. (See Ex. E, Bankr. Dkt. No. 65,

   filed on Feb. 15, 2010).

         C.     Robertson Files An Amendment To His Chapter 7 Bankruptcy
                Petition But Still Fails To Report His Existing Claims
         On February 17, 2010, nearly a month after the Court’s Conversion Order,

   Robertson filed an amendment to Schedule I of his bankruptcy petition, in which

   he added “food stamps” to the section requiring him to specify “other monthly

   income.” (See Ex. F, Bankr. Dkt. No. 13, page 18 (original) and Bankr. Doc. No.

   67, page 1 (amended)). However, again, Robertson did not amend his Schedules

   or Statement of Financial affairs to report his pending EEOC Charge or the

   underlying claims and the expected value of those claims.




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         D.    Robertson’s Debts Are Discharged Without The Bankruptcy
               Court Having Any Knowledge Of His Existing Claims As
               Potential Assets That Could Be Distributed To His Creditors
         On February 26, 2010, the Chapter 7 bankruptcy trustee in control of

   Robertson’s estate reported to the Bankruptcy Court that “there is no property

   available for distribution from the estate” based on the information he received

   from Robertson’s sworn testimony in his filings with the Court. (See Ex. G,

   Bankr. Dkt. No. 70, filed on Feb. 26, 2010). On April 27, 2010, relying on

   Robertson’s disclosures, the Bankruptcy Court discharged over $58,000 of

   Robertson’s debts, and his bankruptcy case was closed. (See id., Nos. 71, 72, filed

   on Apr. 27, 2010).

         Robertson was represented by an attorney throughout his entire bankruptcy

   proceeding. (See id., generally). Yet, he never made the required disclosures at

   any point during his bankruptcy action. See, e.g., Rouse v. Lee, 339 F.3d 238, 249

   (4th Cir. 2003) (finding that counsel’s errors were attributable to plaintiff under

   standard principles of agency); Sholdra v. Chilmark Fin. LLP (In re Sholdra), 249

   F.3d 380, 383 (5th Cir. 2001) (holding that the debtor’s reliance on the advice of

   counsel did not relieve him of his duty to disclose); Cannot-Stokes v. Potter, 453

   F.3d 446, 449 (7th Cir. 2006) (“Yet bad legal advice does not relieve the client of




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   the consequences of her own acts. A lawyer is the client's agent, and the client is

   bound by the consequences of advice that the client chooses to follow.”).

         E.    Robertson Attempts To Take Advantage Of The Judicial System
               By Filing This Lawsuit Based On His EEOC Charge And Pre-
               Existing Claims, Both Of Which He Failed To Disclose To The
               Bankruptcy Court
         Now that his debts have been discharged, Robertson files the instant action

   against Flowers Lynchburg based on claims that existed during the pendency of his

   bankruptcy proceeding but were not disclosed to the Bankruptcy Court.

   Accordingly, Flowers Lynchburg now moves this Court for an order dismissing

   Robertson’s claims in this action on the following grounds: (A) Plaintiff lacks

   standing to pursue his claims because the claims became the property of the

   bankruptcy estate, divesting the Court of subject matter jurisdiction over this

   matter, and (b) Plaintiff is judicially estopped from pursuing his claims under the

   ADA because of the inconsistent positions he has taken in this case and in his

   previous bankruptcy proceeding.




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      III.   LEGAL ARGUMENT

             A.    Plaintiff’s Claims Must Be Dismissed Because He Has Lost
                   Standing To Pursue The Claims In This Action And Therefore
                   The Court Lacks Subject Matter Jurisdiction
         Whether a Court retains subject matter jurisdiction over an action is an issue

   that can be raised at any time. United States v. Beasley, 495 F.3d 142, 147 (4th Cir.

   2007).    Rule 12(b)(1) of the Federal Rules of Civil Procedure provides for

   dismissal where the court lacks jurisdiction over the subject matter of the lawsuit.

   The Fourth Circuit Court of Appeals has held that “[s]tanding is a threshold

   jurisdictional question which ensures that a suit is a case or controversy

   appropriate for the exercise of the courts’ judicial powers under the Constitution of

   the United States.” Pye v. United States, 269 F.3d 459, 466 (4th Cir. 2001). The

   burden of proof is on the plaintiff to demonstrate that the Court has subject matter

   jurisdiction over the claims asserted in the Complaint. See Adams v. Bain, 697

   F.2d 1213, 1219 (4th Cir. 1982). A court does not have subject matter jurisdiction

   over a plaintiff who does not have standing to prosecute his claims. Solt v. Credit

   Protection Ass’n (In re Solt), 425 B.R. 263, 265 (Bankr. W.D. Va. 2010); see also

   AtlantiGas Corp. v. Columbia Gas Transmission Corp., 210 F.App’x 244, 247 (4th

   Cir. 2006) (unpublished).




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         Under Section 541 of the Bankruptcy Code, a debtor’s property, including

   all legal claims, becomes part of the bankruptcy estate at the time that the debtor

   files the petition. 11 U.S.C. §§ 301 – 303, 541(a); A.T. Massey Coal Co., Inc. v.

   Jenkins, No. 7:08CV00563, 2009 WL 1437829, at *2 (W.D. Va. May 22, 2009)

   (unpublished) (citing Richman v. Garza (In re Richman), No. 96-2156, 1997 WL

   360644, at *1 (4th Cir. Jul. 1, 1997) (noting that “[a] legal cause of action is an

   interest of the debtor in property within the meaning of section 541”)); see also

   Hay v. First Interstate Bank of Kalispell, 978 F.2d 555, 557 (9th Cir. 1992)

   (“assets” encompass a debtor’s legal claims, including litigation not yet filed, but

   likely to arise). An EEOC charge, and even the underlying facts which might

   support a discrimination claim, qualifies as an asset that must be disclosed to the

   Bankruptcy Court. See, e.g., Brockington v. Jones, No. A4:05-3267RBHTER,

   2007 WL 4812205, at *4 (D.S.C. Nov. 28, 2007) (unpublished) (citing Thomas v.

   Palmetto Mgmt. Servs., No. 3:05-17-CMC-BM, 2006 WL 2623917, at *4 (D.S.C.

   Sept. 11, 2006) (unpublished) aff'd, 234 F. App'x 166 (4th Cir. 2007) (finding that

   plaintiff’s filing of EEOC charge after filing her bankruptcy petition but before the

   bankruptcy case was closed without ever amending her petition to reflect the

   EEOC claims supported dismissal of plaintiff’s lawsuit)); Jethroe v. Omnova

   Solutions, Inc., 412 F.3d 598, 599 (5th Cir. 2005) (affirming judgment for

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   employer because plaintiff had failed to disclose her pending EEOC charge and

   potential title VII claim to the bankruptcy court); Kamont v. West, 83 F. App'x 1, 3

   (5th Cir. 2003) (unpublished) (explaining that plaintiff’s filing of an EEOC charge

   while her bankruptcy petition was pending triggered a duty to amend her petition

   to reflect the EEOC claim).

         At the time of filing the bankruptcy petition, the debtor surrenders the right

   to control the estate, including existing or potential legal claims, to the bankruptcy

   trustee. 11 U.S.C. §§ 323(a), 701; Richman, 1997 WL 360644, at *1. Thus, as this

   Court (and the Fourth Circuit) has made clear, “[c]auses of action that belong to

   the debtor’s bankruptcy estate may only be pursued by the trustee, as representative

   of the bankruptcy estate.” A.T. Massey Coal Co., Inc., 2009 WL 1437829, at *3

   (emphasis added) (citing Nat’l Am. Ins. Co. v. Ruppert Landscaping Co., 187 F.3d

   439, 441 (4th Cir. 1999)).

         Importantly, the bankruptcy trustee’s authority also extends over causes of

   actions, such as Plaintiff’s claims here, that were never disclosed to the Bankruptcy

   Court in the debtor-plaintiff’s bankruptcy filing. Sain v. HSBC Mortg. Servs., Inc.,

   No. 4:08-2856-TLW-TER, 2009 WL 2858993, at *5 (D.S.C. Aug. 28, 2009) (“a

   cause of action becomes a part of the estate whether or not it is disclosed by the

   debtor”); Hutchins v. Internal Revenue Serv., 67 F.3d 40, 43 (3d Cir.1995) (“since

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   the bankrupt estate retains unscheduled assets, only the bankruptcy trustee has the

   authority to control them”).

         Consistent therewith, district courts within the Fourth Circuit have

   frequently dismissed a plaintiff’s claims for lack of subject matter jurisdiction

   where the debtor-plaintiff failed to disclose the existence of such claims in his or

   her Chapter 7 bankruptcy filing.       See, e.g., Sain, 2009 WL 2858993, at *5

   (dismissing for lack of subject matter jurisdiction because plaintiff did not have

   standing to bring suit when he was in Chapter 7 bankruptcy and noting that any

   claims he had belonged to the trustee); In re Family Dollar FLSA Litigation, No.

   3:08 MD 1932, 2009 WL 1750908, at *5 (W.D.N.C. June 19, 2009) (finding that

   plaintiff lacks standing to pursue his claims because they are the property of the

   bankruptcy estate, and only the bankruptcy trustee has standing to pursue such

   claims). Dismissal of these cases is based upon the court’s lack of subject matter

   jurisdiction over an individual who lacks standing over the claims. See In re Solt,

   425 B.R. at 265 (“If the Court finds that the plaintiff does not have standing to

   bring the suit because the person or entity is not a real party in interest, the court

   lacks subject matter jurisdiction and should dismiss the case.”)

          It is undisputed that Plaintiff had a pending EEOC Charge, in which he

   made claims against Defendant, during the pendency of his bankruptcy proceeding

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   and prior to filing a motion to convert his Ch. 13 bankruptcy petition to Chapter 7.

   His claims against Defendant in this action, even though he never disclosed them

   to the Bankruptcy Court, became exclusive property of the bankruptcy estate, and

   therefore only the bankruptcy trustee – not Plaintiff – had the sole authority over

   such claims. As such, on January 19, 2010, when the Bankruptcy Court granted

   Plaintiff’s motion to convert his case to Chapter 7, Plaintiff lost standing to pursue

   his ADA claims against Defendant as a matter of law. Thus, Plaintiff currently

   lacks standing to continue to prosecute this action. Defendant’s Motion should be

   granted accordingly, and Plaintiff’s lawsuit dismissed with prejudice.


             B.    Plaintiff Is Judicially Estopped From Pursuing His Claims
         In addition to this Court lacking subject matter jurisdiction over Plaintiff’s

   claims, Plaintiff’s lawsuit must be dismissed because he is judicially estopped from

   pursuing his claims due to his failure to disclose the claims as an asset of his estate

   in the bankruptcy proceeding. Section 521 of the U.S. Bankruptcy Code imposes

   an affirmative duty on debtors seeking shelter under its laws to disclose all actual

   or potential legal claims, along with the estimated value of the same, to the

   bankruptcy court on the requisite schedule of assets and liabilities accompanying

   the bankruptcy petition. See 11 U.S.C. § 541(a)(1). Pursuant to this duty to

   disclose, debtors must disclose all potential causes of action including litigation

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   that is likely to arise in a non-bankruptcy setting. See Brockington, 2007 WL

   4812205, at *4 (citing Casto v. Am. Union Boiler Co., No. 2:05-CV-00757, 2006

   WL 660458, at *3 (S.D.W.Va. Mar. 14, 2006) (unpublished) (“By omitting his

   existing claim and potential claims from his disclosures, he averred to the

   bankruptcy court that no such claims existed. Consequently, his position before

   this court […] is wholly inconsistent with the position he adopted during his

   bankruptcy proceeding.”)).

         In addition, the debtor has an obligation to disclose all potentially

   meritorious claims, not just those that are likely to succeed. Id. at *3.        This

   disclosure is essential to the processing of a bankruptcy petition because “all legal

   or equitable interests of the debtor,” including any and all legal claims or causes of

   action that have accrued as of the date of the bankruptcy (or during the pendency

   thereof), become property of the bankruptcy estate as a matter of law upon the

   debtor’s filing of the petition. 11 U.S.C. § 541(a)(1); 11 U.S.C.. § 1306(a); In re

   US Internetworking, 310 B.R. 274, 282 (Bankr. D. Md. 2004) (citing Rosenshein v.

   Kleban, 918 F.Supp. 98, 104 (S.D.N.Y. 1998) (“full and complete disclosure [in

   bankruptcy] is required to preserve the integrity of the judicial function of the

   bankruptcy courts”). Importantly, the debtor’s duty to disclose does not end once

   the petition and related forms are submitted to the bankruptcy court. Thomas, 2006

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   WL 2623917, at *4. Rather, this duty continues through the pendency of the

   bankruptcy proceeding and requires the Plaintiff to amend his financial statements

   if his situation changes. See Casto, 2006 WL 660458, at * 2.

         Furthermore, when an individual converts his bankruptcy case from Chapter

   13 to Chapter 7, he is required to amend his bankruptcy schedules and statement of

   financial affairs to include any existing or potential assets that he/she may have

   gained since the filing of the Chapter 13 petition. Burnes v. Pemco Aeroplex, Inc.,

   291 F.3d 1282, 1286 (11th Cir. 2002). Courts and creditors alike rely on a debtor’s

   financial disclosures when making decisions as to a debtor’s requests for protection

   under the bankruptcy laws, making a debtor’s full and honest disclosure vital. Id;

   Thomas, 2006 WL 2623917, at *4. Again, it is undisputed based on Plaintiff’s

   bankruptcy records that he never disclosed his EEOC charge or the underlying

   claims to the Bankruptcy Court.

         Courts in the Fourth Circuit, and in many other Circuits, have long applied

   the doctrine of judicial estoppel to prevent a party who has successfully taken a

   position in a bankruptcy proceeding from taking the opposite position in a

   subsequent proceeding. Zinkand v. Brown, 478 F.3d 634, 638 (4th Cir. 2007);

   Brockington, 2007 WL 4812205, at *5 (and cases cited therein). To establish a

   basis for judicial estoppel, the defendant must show that: (1) the plaintiff has

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   advanced an assertion that is inconsistent with a position taken during previous

   litigation; (2) the position is one of fact, rather than law or legal theory; (3) the

   court in the first proceeding accepted the prior position; and (4) the plaintiff acted

   intentionally and not inadvertently. Havird Oil Co. v. Marathon Oil Co., 149 F.3d

   283, 292 (4th Cir. 1998); Folio v. City of Clarksburg, 134 F.3d 1211, 1217 (4th

   Cir. 1998). All of these elements are clearly present here.

         First, it is well-established that failure to assert a discrimination claim to the

   bankruptcy court is treated as a representation that no such claim exists.

   Brockington, 2007 WL 4812205, at *4 (quoting Stallings v. Hussman Corp., 447

   F.3d 1041, 1047 (8th Cir. 2006)). Accordingly, the doctrine of judicial estoppel

   has been applied to dismiss employment discrimination claims when the plaintiff

   has failed to disclose the claims or potential claims in a bankruptcy action and then

   asserts those pre-existing claims in an action for damages in a district court. See

   Brockington, 2007 WL 4812205, at *5 (dismissing race discrimination and

   harassment claims); Casto, 2006 WL 660458 (dismissing age discrimination

   claim); see also Gresham v. Food Lion, Inc., 31 F. App’x 131, 135 (4th Cir. 2002)

   (“these claims were barred by the doctrine of judicial estoppel because [plaintiff]

   had failed to disclose the existence of these claims in a disclosure statement he

   filed in connection with a bankruptcy petition filed by [plaintiff] in the United

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   States Bankruptcy Court”); Payless Wholesale Distrib. Inc. v. Alberto Culver

   (P.R.) Inc., 989 F.2d 570, 571 (1st Cir.1993) (same); Coastal Plains, Inc. v. Mims

   (In re Coastal Plains, Inc.), 179 F.3d 197, 208, 209 (5th Cir.1999) (same).

         Plaintiff’s position in the Bankruptcy Court – representing that he did not

   have any administrative proceedings, lawsuits, or other claims for damages against

   Defendant – is wholly inconsistent with his position here in the District Court.

   Thus, by failing to list his discrimination claims against Defendant on his

   bankruptcy petition, Plaintiff effectively represented that no such claim exists.

   Plaintiff’s position in the instant lawsuit, which is premised upon such claims, is

   clearly an inconsistent position.

         In addition, the second element of judicial estoppel is also met because a

   plaintiff’s assertion that he has valid claims in a lawsuit (as Plaintiff does through

   prosecuting this action) and his omission of claims in the bankruptcy proceeding is

   a factual—and not a legal—assertion as a matter of law. Casto, 2006 WL 660458,

   at *3 (citing In re USinternetworking, 310 B.R. 274, 283 (D. Md. 2004) (finding

   that omission of claim during bankruptcy proceeding is a factual matter)).

         Further, the third element of judicial estoppel (namely, that the court in the

   first proceeding accepted the prior position) is satisfied because the Bankruptcy

   Court accepted and relied upon Plaintiff’s position that he did not have any

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   existing or potential claims against Flowers/Lynchburg and subsequently

   discharged over $58,000 of his debts. Because the Bankruptcy Court proceeded as

   if no legal claims existed and granted a discharge of Plaintiff’s debts on that basis,

   the obvious perception is that the Bankruptcy Court was misled. See Brockington,

   2007 WL 4812205, at *4 (third element of judicial estoppel satisfied because

   “[p]laintiff's position that she had no contingent or unliquidated claims was

   accepted by the bankruptcy court when it issued an order discharging [p]laintiff's

   debts, discharging the trustee, and closing the case”) (citing Jethroe v. Omnova

   Solutions, Inc., 412 F.3d 598, 600 (5th Cir. 2005)).

         Finally, the facts establish that Plaintiff’s failure to disclose in his

   bankruptcy proceeding his civil claims against Defendant was intentional and not

   inadvertent. A debtor’s failure to disclose an asset will only be deemed to be

   inadvertent when the debtor: (1) lacks knowledge of the claim, or (2) has no

   motive to conceal the case. In re Family Dollar FLSA Litig., 2009 WL 1750908, at

   *4.   Here, Plaintiff’s filing of his EEOC Charge during the pendency of his

   bankruptcy proceeding shows that he obviously had knowledge of his claims

   against Defendant.

         Although this fact alone is enough to show that Plaintiff’s failure to disclose

   was intentional, the facts show that Plaintiff also had an apparent motive to conceal

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   his claims from the Bankruptcy Court because in doing so, his creditors were

   denied the opportunity to share in the proceeds of any possible judgment.

   Furthermore, a motive to conceal has been implied, as a matter of law, when (as

   here) proper disclosure would have added assets to the bankruptcy estate. See,

   e.g., Calafiore v. Werner Enterprises, Inc., 418 F.Supp. 2d 795, 798 (D. Md. 2006)

   (“If [ ] undisclosed claim would have added assets to the bankruptcy estate, [the

   debtor] will usually be deemed to have had a motive to conceal those claims.”);

   DeLeon v. Comear Indust., Inc., 321 F.3d 1289, 1291 (11th Cir. 2003) (same);

   Burnes, 291 F.3d at 1286 (“It is unlikely he would have received the benefit of a

   conversion to Chapter 7 followed by a no asset, complete discharge had his

   creditors, the trustee, or the bankruptcy court known of a lawsuit claiming millions

   of dollars in damages.”). In addition, not only did Plaintiff fail to disclose his

   discrimination claim, but he also failed to disclose his workers’ compensation

   claim. The only claim that Plaintiff did disclose in his bankruptcy petition was a

   civil claim brought against him by Lynchburg General Hospital, which further

   supports the finding that Plaintiff’s non-disclosure of potential assets was

   intentional and not inadvertent.

         Simply stated, to permit Plaintiff to proceed on his undisclosed claims

   against Defendant would grant Plaintiff the ultimate financial benefit – to reap the

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   protections of bankruptcy, as he already has, while attempting to pursue monetary

   damages in this Court based on assets undisclosed to his creditors. This is exactly

   the kind of conduct that the doctrine of judicial estoppel is intended to protect

   against. See, e.g., Folio v. City of Clarksburg, 134 F.3d 1211, 1217 (4th Cir. 1998)

   (citation omitted) (“Judicial estoppel is an equitable doctrine that exists to prevent

   litigants from playing ‘fast and loose’ with the courts—to deter improper

   manipulation of the judiciary.”).2

         Accordingly, the Court should grant Defendant’s motion for summary

   judgment, and dismiss the claims against Defendant.

       IV.   CONCLUSION
         Based upon the foregoing argument and authority, Defendant requests that

   the Court enter an order dismissing Plaintiff’s claims with prejudice.




   2
     Realizing that Plaintiff, pro se, may not have access to the “unpublished” case law cited
   in Defendant’s Legal Argument, Defendant has attached a copy of these cases as Exhibit
   H, for the convenience of Plaintiff and in accordance with Local Rule 32.1.
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   Respectfully submitted this 14th day of September, 2011.

                                   s/ Kristine H. Smith
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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF VIRGINIA
                           LYNCHBURG DIVISION
   RONALD LEE ROBERTSON,                     )
                                             )
                      Plaintiff,             )
                                             )
                                             )
   v.                                        )
                                             ) Civ. Action No. 6:11-CV-00013
   FLOWERS BAKING CO.,                       )
                                             )
                      Defendant.             )
                                             )
                                             )
                                             )

                            CERTIFICATE OF SERVICE

         I certify that on September 14, 2011, I electronically filed the Memorandum

   in Support of Defendant’s Motion to Dismiss Based on the Doctrine if Judicial

   Estoppel and Lack of Subject Matter Jurisdiction with the Clerk of Court using the

   CM/ECF system.

         I hereby certify that I have mailed by United States Postal Service the

   document to the following non-CM/ECF participant:

                            Mr. Ronald L. Robertson, pro se
                                 132 Madison Circle
                                       Apt. 102
                             Madison Heights, VA 24572

   Dated this 14th day of September, 2011.

                                                     s/ Kevin P. Hishta
                                                     Kevin P. Hishta
